         Case 4:19-cv-00055-WS-HTC Document 78 Filed 05/13/21 Page 1 of 2



                                                                             Page 1 of 2


               IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION



SHAKOY R. GALE,,

         Plaintiff,

v.                                                          4:19cv55–WS/HTC

DEPARTMENT OF CORRECTIONS,
et al.,

         Defendants.



            ORDER GRANTING DEFENDANT’S MOTION TO DISMISS

         Before the court is the magistrate judge's report and recommendation (ECF

No. 72) docketed December 30, 2020. The magistrate judge recommends that

Defendant’s motion to dismiss be granted. Plaintiff has filed no objections to the

report and recommendation despite having been granted two extensions of time to

do so.

         Having reviewed the matter, this court has determined that the magistrate

judge's report and recommendation should be adopted. Accordingly, it is

ORDERED:

         1. The magistrate judge's report and recommendation (ECF No. 72)) is
      Case 4:19-cv-00055-WS-HTC Document 78 Filed 05/13/21 Page 2 of 2



                                                                            Page 2 of 2


hereby ADOPTED and incorporated by reference into this order.

      2. Defendant’s motion to dismiss (ECF No. 64) is GRANTED.

      3. Plaintiff’s amended complaint and this action are DISMISSED for failure

to state a claim upon which relief may be granted.

      4. The clerk shall enter judgment stating: “All claims are dismissed with

prejudice.”

      DONE AND ORDERED this            13th    day of     May     , 2021.




                                s/ William Stafford
                                WILLIAM STAFFORD
                                SENIOR UNITED STATES DISTRICT JUDGE
